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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DENISE DROESCH, et al.,                            Case No. 20-cv-06751-JSC
                                                         Plaintiffs,
                                   8
                                                                                            ORDER RE: HEARING ON
                                                 v.                                         DEFENDANT'S MOTION FOR A
                                   9
                                                                                            PROTECTIVE ORDER
                                  10     WELLS FARGO BANK, N.A.,
                                                                                            Re: Dkt. No. 153
                                                         Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Now pending before the Court is Defendant’s motion for a protective order. (Dkt. No.

                                  14   153.) After reviewing the papers, the Court concludes oral argument might be helpful and

                                  15   schedules a hearing for March 30, 2023 at 9:00 a.m. via Zoom video. On or before March 27,

                                  16   2023, the parties shall submit a joint statement on the status of the response to the Court’s order at

                                  17   Docket No. 155.

                                  18          IT IS SO ORDERED.

                                  19   Dated: March 8, 2023

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                                                                                                     JACQUELINE SCOTT CORLEY
                                  22                                                                 United States District Judge
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